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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                             ENTERED
                                                                                           06/14/2018
IN RE:                                         §
MUNIRA SHAKIR                                  §      CASE NO: 14-32639
       Debtor(s)                               §
                                               §      CHAPTER 7
                                               §
TASNEEM SHUJAUDDIN, et al                      §
     Plaintiff(s)                              §
                                               §
VS.                                            §      ADVERSARY NO. 14-03305
                                               §
MUNIRA SHAKIR                                  §
     Defendant(s)                              §

                               ORDER DISMISSING CASE

       Pursuant to the Court’s February 12, 2018 show cause order, this adversary proceeding is
dismissed with prejudice against refiling.

       SIGNED June 14, 2018.


                                               ___________________________________
                                                           Marvin Isgur
                                               UNITED STATES BANKRUPTCY JUDGE




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